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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division



SNAP-ON INCORPORATED

                       Plaintiff,

          v.                                           Case No. 1:23-cv-789-PTG-JFA

ASTON TECHNOLOGIES, INC. and
JEFF Z. XU

                       Defendants.


               STIPULATION TO DISMISSAL OF ACTION WITHOUT PREJUDICE

          IT IS HEREBY STIPULATED by and amongst the parties, that this entire action be

dismissed without prejudice pursuant to Federal Rule of Civil Procedure 41(a). The parties have

entered into a settlement agreement. Each party shall bear its own attorneys’ fees, expenses, and

costs associated with this action.




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